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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION
MARTIN M. BREINER,              )
                                )
Plaintiff,                      )
                                )
vs.                             )
                                )      No.:
CITY OF CHICAGO, DAVID HAYNES, )
JOHN ESCALANTE, KEVIN MULCAHY, )
UNIDENTIFIED OFFICER, and       )
UNITED ROAD TOWING SERVICES,    )
INC,                            )
                                )
Defendants.                     )

                                  COMPLAINT AT LAW

           NOW COMES the Plaintiff, MARTIN M. BREINER, by and through his attorney

in this regard, GIGI GILBERT, and complaining of Defendants, CITY OF CHICAGO,

DAVID HAYNES, JOHN ESCALANTE, KEVIN MULCAHY, and UNIDENTIFIED

CHICAGO POLICE OFFICERS, AND UNITED ROAD TOWING SERVICES, INC.,

states as follows:

                                    NATURE OF CASE

           1.    This suit arises from the violation of civil rights of Plaintiff, MARTIN M.

BREINER, (“BREINER”) for illegal seizure of his vehicles and violation of due process

of law and civil conspiracy pursuant to 42 U.S.C. § 1983 and state law claims for

respondeat superior, indemnification, malicious prosecution and negligence.

                                          JURISDICTION

           2.    Jurisdiction for Plaintiff’s federal claims is based on 28 U.S.C. §§ 1331

and 1343(a). This court has supplemental pendent jurisdiction over his state law claims.

                                              VENUE



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           3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that the

claims arose in Northern District of Illinois, Eastern Division.

                                             PARTIES

           4.    Plaintiff, BREINER, is a resident of the City of Chicago, County of Cook,

State of Illinois.

           5.    Defendants, DAVID HAYNES (“HAYNES”), JOHN ESCALANTE

(“ESCALANTE”), KEVIN MULCAHY(“MULCAHY”), and UNIDENTIFED

OFFICERS are duly appointed and sworn Chicago police officers. At all times relevant to

this Complaint, the Defendants were acting in the course and scope of their employment,

and under color of state law.

           6.    Defendants are sued in their individual capacities.

           7.    Defendant, CITY OF CHICAGO (“CITY”), is a municipal corporation,

duly incorporated under the laws of the State of Illinois, and is the employer and principal

of the Defendants.

           8.    Defendant, UNITED ROAD TOWING SERVICES, INC. (“UNITED

ROAD”) is an Illinois corporation doing business in the County of Cook.

                                               FACTS

           9.    This case arises from the malicious issuance of thirteen baseless and

contrived parking tickets to BREINER, and the accompanying immediate tow of his

vehicles without probable cause or due process of law. All fifteen tickets were issued by

Defendants HAYNES, ESCALANTE, MULCAHY and/or other unknown Chicago

Police Officers. Each in-person hearing to contest the parking tickets and separate in-

person hearing to contest the tow of his vehicle were terminated in BREINER’s favor. On




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one occasion more than one of BREINER’s vehicles were ticketed and towed at the same

time. The vehicles were towed by and taken to a pound operated by UNITED ROAD

located at 701 N. Sacramento Ave., Chicago. When BREINER retrieved his vehicles

from the pound he discovered the vehicles had been physical damaged and/or had items

missing from them.

           10.   On February 15, 2012, at or near 24 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458, for allegedly

“abandoned auto” and his vehicle, a 2002 Nissan, was immediately towed by UNITED

ROAD.

           11.   On June 28, 2012, at or near 1329 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, ESCALANTE, Star # 429 for allegedly

“low tires” and his vehicle, was immediately towed by UNTED ROAD.

           12.   On June 28, 2012, at or near 1343 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, ESCALANTE, Star # 429 for allegedly

“sitting for weeks” and his vehicle, a 2008 Toyota, was immediately towed by UNITED

ROAD.

           13.   On June 28, 2012, at or near 1347 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, ESCALANTE, Star # 429, with no

description of why he received the ticket and his vehicle, a 2002 Nissan, was immediately

towed by UNITED ROAD.

           14.   On June 28, 2012, at or near 1356 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, ESCALANTE, Star # 429, with no

description indicated of why he received the ticket and his vehicle, a 2008 Nissan, was




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immediately towed by UNITED ROAD.

           15.   On August 21, 2012, at or near 51 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458, for allegedly

“hazardous” and his vehicle, a 2002 Nissan was immediately towed by UNITED ROAD.

           16.   On August 21, 2012, at or near 49 W. Schiller, Chicago BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458, for allegedly

“hazardous” and his vehicle, a 2002 Nissan was immediately towed by UNITED ROAD.

           17.   On August 21, 2012, at or near 47 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458 for allegedly

“hazardous” and his vehicle was immediately towed by UNITED ROAD.

           18.   On August 21, 2012, at or near 135 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458 for allegedly

“hazardous” and his vehicle was immediately towed by UNITD ROAD.

           19.   On October 11, 2012, at or near 133 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, MULCAHY, Star # 19640, for allegedly

“abandoned vehicle” and his vehicle, a 2008 Toyota Yaris, was immediately towed by

UNITED ROAD.

           20.   On October 11, 2012, at or near 131 W. Schiller, Chicago, BREINER

received a parking ticket issued by Defendant, MULCAHY, Star # 19640, for allegedly

“abandoned vehicle” and his vehicle, 2008 Nissan Versa, was immediately towed by

UNITED ROAD.

           21.   On October 16, 2012, upon retrieving his vehicle from UNITED ROAD,

BREINER discovered that his 2008 Nissan Versa was damaged.




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           22.   On October 16, 2012, upon retrieving his vehicle from UNITED ROAD,

BREINER discovered that his 2008 Toyota Yaris was damaged.

           23.   On February 7, 2013 at or near 1355 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458 for allegedly

“abandoned vehicle” and his vehicle was immediately towed by UNTIED ROAD.

           24.   On February 13, 2013 at or near1355 N. Dearborn, Chicago, BREINER

received a parking ticket issued by Defendant, HAYNES, Star # 458 for allegedly

“abandoned vehicle” and his vehicle was immediately towed by UNTIED ROAD.

           25.   BREINER did not commit the violations listed on the parking tickets.

           26.   The parking tickets were issued without probable cause for Defendants

HAYNES, ESCALANTE, MULCAHY and/or other unknown Chicago Police Officers to

believe that BREINER was committing or had committed a crime.

           27.   BREINER contested all of the parking violations and each violation was

resolved in his favor.

           28.   The Defendants, HAYNES, ESCALANTE, MULCAHY and/or other

unknown Chicago Police Officers conspired together to issue BREINER the

aforementioned bogus tickets without probable cause to believe he committed the

violations cited therein.

           29.   Defendants, HAYNES, ESCALANTE, MULCAHY and/or other

unknown Chicago Police Officers, acted willfully and wantonly, maliciously, and with a

conscious disregard and reckless indifference to Plaintiff’s rights.

           30.   As a direct and proximate result of Defendants' actions, BREINER,

suffered and continues to suffer mental anguish, psychological and emotional distress,




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pain and suffering, economic losses, some or all of which may be permanent.

             COUNT I - ILLEGAL SEIZURE - 42 U.S.C. § 1983-4TH AMENDMENT

           31.   BREINER realleges paragraphs 1 through 30 as if fully set forth herein.

           32.   Defendants ticketing and towing of BREINER’s vehicles was a seizure as

contemplated under 42 U.S.C. § 1983.

           33.   Defendants illegally seized BREINER’s vehicles without probable cause

to believe he had committed, was committing or was about to commit any parking or

other offense in violation of the Fourth Amendment and 42 U.S.C. § 1983.

           34.   As a direct and proximate result of Defendants' actions, BREINER,

suffered and continues to suffer mental anguish, psychological and emotional distress,

pain and suffering, economic losses, some or all of which may be permanent.

           WHEREFORE, Plaintiff, MARTIN M. BREINER. prays that this Honorable

Court enter a judgment in his favor and against Defendants, DAVID HAYNES, JOHN

ESCALANTE, KEVIN MULCAHY, and UNKNOWN CHICAGO POLICE OFFICERS,

for the following relief:

           (a)   Compensatory damages in an amount to be determined at trial;

           (b)   Punitive damages in an amount to be determined at trial;

           (c)   Reasonable attorneys fees and costs pursuant to statute; and

           (d)   Such other and further relief as this court deems reasonable.

           COUNT II-DUE PROCESS OF LAW- 42 U.S.C. § 1983-14THAMENDMENT

           35.   BREINER re-alleges paragraphs 1 through 34 as if fully set forth herein.

           36.   The ticketing and immediate tow of BREINER’s vehicles was done

without notice or an opportunity for a meaningful pre-seizure hearing and therefore



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violated Plaintiff’s due process rights in violation of the 14th Amendment and 42 U.S.C. §

1983.

           37.    As a direct and proximate result of Defendants' actions, BREINER,

suffered and continues to suffer mental anguish, psychological and emotional distress,

pain and suffering, economic losses, some or all of which may be permanent.

           WHEREFORE, Plaintiff, MARTIN M. BREINER. prays that this Honorable

Court enter a judgment in his favor and against Defendants, DAVID HAYNES, JOHN

ESCALANTE, KEVIN MULCAHY, and UNKNOWN CHICAGO POLICE OFFICERS,

for the following relief:

           (a)    Compensatory damages in an amount to be determined at trial;

           (b)    Punitive damages in an amount to be determined at trial;

           (c)    Reasonable attorneys fees and costs pursuant to statute; and

           (d)    Such other and further relief as this court deems reasonable.

                 III-DUE PROCESS OF LAW-42 U.S.C. § 1983-14THAMENDMENT

           38.    BREINER realleges paragraphs 1 through 37 as if fully set forth herein.

           39.    Defendants, HAYNES, ESCALANTE, MULCAHY and/or other

unknown Chicago Police Officers, deprived Plaintiff, BREINER, of fair legal

proceedings by engaging in multiple acts which include, but are not limited to, submitting

false police reports, submitting a false tow reports, submitting false citations and

otherwise acting to deny plaintiff fair legal proceedings.

           40.    As a direct and proximate result of Defendants' HAYNES, ESCALANTE,

MULCAHY and/or other unknown Chicago Police Officers actions, BREINER, suffered

and continues to suffer mental anguish, psychological and emotional distress, pain and



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suffering, economic losses, some or all of which may be permanent.

           WHEREFORE, Plaintiff, MARTIN M. BREINER. prays that this Honorable

Court enter a judgment in his favor and against Defendants, DAVID HAYNES, JOHN

ESCALANTE, KEVIN MULCAHY, and UNKNOWN CHICAGO POLICE OFFICERS,

for the following relief:

           (a)   Compensatory damages in an amount to be determined at trial;

           (b)   Punitive damages in an amount to be determined at trial;

           (c)   Reasonable attorneys fees and costs pursuant to statute; and

           (d)   Such other and further relief as this court deems reasonable.

                      IV- STATE LAW RESPONDEAT SUPERIOR

           41.   BREINER alleges the allegations contained in paragraphs 1-40 above as if

fully set forth herein.

           42.   In committing the acts alleged in the preceding paragraphs, the Defendant

officers were members and agents of the Chicago Police Department acting at all relevant

times within the scope of their employment.

           43.   Defendant, CITY OFCHICAGO, is liable as principal for all torts

committed by its agents.

           WHEREFORE, Plaintiff, MARTIN M. BREINER. prays that this Honorable

Court enter a judgment in his favor and against Defendant, CITY OF CHICAGO, for the

following relief:

           (a)   Compensatory damages in an amount to be determined at trial;

           (b)   Reasonable attorneys fees and costs pursuant to statute; and

           (c)   Such other and further relief as this court deems reasonable



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                      COUNT V - STATE LAW INDEMNIFICATION

           44.   BREINER re-alleges the allegations contained in paragraphs 1-43 above

as if fully set forth herein.

           45.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the scope of

their employment activities.

           46.   Defendants, DAVID HAYNES, JOHN ESCALANTE, KEVIN

MULCAHY, and other UNIDENTIFIED POLICE OFFICERS were employees of the

Chicago Police Department, who acted within the scope of their employment in

committing the misconduct described herein.

           WHEREFORE, Plaintiff, MARTIN M. BREINER, prays that this Honorable

Court enter a judgment in his favor and against Defendant, CITY OF CHICAGO for the

following relief:

           (a)   Compensatory damages in an amount to be determined at trial;

           (b)   Reasonable attorneys fees and costs; and

           (c)   Such other and further relief as this court deems reasonable.

                    COUNT VI - STATE MALICIOUS PROSECUTION

           47.   BREINER alleges the allegations contained in paragraphs 1-46 above as if

fully set forth herein.

           48.   Defendants, HAYNES, ESCALANTE, MULCAHY, and other

UNIDENTIFIED OFFICERS commenced legal proceedings against BREINER by

ticketing and towing his vehicles requiring that he defend himself in the City of Chicago,

Illinois Department of Administrative Hearings with parking citations and tow citations.




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            49.   The charges brought against BREINER were terminated in his favor.

            50.   Defendants, HAYNES, ESCALANTE, MULCAHY, and other

UNIDENTIFIED OFFICERS did not have probable cause to commence legal

proceedings against BREINER.

            51.   Defendants, HAYNES, ESCALANTE, MULCAHY, and other

UNIDENTIFIED OFFICERS acted with malice and/or reckless indifference when the

Defendants initiated proceedings against BREINER by ticketing and towing his vehicles.

            52.   As a direct and proximate result of Defendants' actions, BREINER,

suffered and continues to suffer mental anguish, psychological and emotional distress,

pain and suffering, economic losses, some or all of which may be permanent.

            WHEREFORE, Plaintiff, MARTIN M. BREINER, prays that this Honorable

Court enter a judgment in his favor and against Defendants, DAVID HAYNES, JOHN

ESCALANTE, KEVIN MULCAHY, and other UNIDENTIFIED OFFICERS for the

following relief:

            (a)   Compensatory damages in an amount to be determined at trial;

            (b)   Punitive damages in the amount to be determined at trial;

            (c)   Reasonable attorneys fees and costs; and

            (d)   Such other and further relief as this court deems reasonable.

                               COUNT VII - STATE NEGLIGENCE

            53.   BREINER alleges the allegations contained in paragraphs 1-52 above as if

fully set forth herein.

            54.   When Defendant, UNITED ROAD towed BREINER’s vehicles it took

exclusive control of the vehicle, undertook a bailor-bailee relationship with BREINER




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and had a duty to safeguard the vehicle and property within from damage or theft.

            55.   Defendant, UNITED ROAD, breached this duty to BREINER and failed

to exercise the required care in safeguarding the vehicles by negligently towing and/or

storing BREINER’S vehicles resulting in property damage and/or theft to the vehicles.

            56.   As a direct and proximate result of Defendants' actions or omissions,

BREINER, suffered and continues to suffer damages including but not limited to mental

anguish, psychological and emotional distress, pain and suffering, economic losses, some

or all of which may be permanent.

            WHEREFORE, Plaintiff, MARTIN M. BREINER, prays that this Honorable

Court enter a judgment in his favor and against Defendants, for the following relief:

            (a)   Compensatory damages in an amount to be determined at trial;

            (b)   Such other and further relief as this court deems reasonable.

                  COUNT VIII - (CIVIL CONSPIRACY - 42 U.S.C. § 1983)

            57.   BREINER alleges the allegations contained in paragraphs 1-56 above as if

fully set forth herein.

            58.   Defendants, HAYNES, ESCALANTE, MULCAHY, UNITFIED

OFFICERS and UNITED ROAD acted in concert pursuant to an agreement to deprive

BREINER of his constitutional rights under the fourth and fourteen amendment.

            59.   Defendants, HAYNES, ESCALANTE, MULCAHY, UNIDENTIFIED

OFFICERS and UNITED ROAD conspired and acted together to issue BREINER false

parking citations and immediately tow his vehicles.

            60.   The last citation issued without probable cause that BREINER received

was on February 13, 2013 by HAYNES.




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            61.   Defendants, HAYNES, ESCALANTE, MULCAHY, UNIDENTIFIED

OFFICERS and UNITED ROAD knowingly and intentionally schemed and worked

together in a common plan to issue Plaintiff, BREINER, the false parking tickets and

deprived him of his constitutional rights.

            62.   As described above, BREINER suffered harm and injury as a result of

Defendants’ conspiracy to deprive him of his constitutional rights.

            WHEREFORE, Plaintiff, MARTIN M. BREINER, prays that this Honorable

Court enter a judgment in his favor and against Defendants, DAVID HAYNES, JOHN

ESCALANTE, KEVIN MULCAHY, and other UNIDENTIFIED OFFICERS and

UNITED ROAD TOWING SERVICES, INC. for the following relief:

            (a)   Compensatory damages in an amount to be determined at trial;

            (b)   Punitive damages in the amount to be determined at trial;

            (c)   Reasonable attorneys fees and costs; and

            (d)   Such other and further relief as this court deems reasonable

                                 Respectively Submitted,



                                 By://s// Gigi Gilbert_______




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